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                                                                      FILED IN CLEF
                                                                          U.S.D (
               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA                       DPe·   0    u·
                                                                          -     ~J
                          ROME DIVISION

GERRY BENGE and RANDALL           )
BENGE,                            )
                                  ) CIVIL ACTION
                      Plaintiffs, ) FILE NO.
                                  )
v.                                )
                                  )
CAMPBELL SOUP COMPANY,            )
                                  )
                     Defendant. )


                                NOTICE OF REMOVAL

      COMES NOW CAMPBELL SOUP COMPANY, and pursuant to 28 U.S.C.

§§ 1332 and 1441, hereby files its Notice of Removal of the above-styled cause of

action to the United States District Court, Northern District of Georgia, Rome

Division, stating as follows:

                                        1.

      On December 1, 2009, Plaintiffs Gerry Benge and Randall Benge

("Plaintiffs") sued Campbell Soup Company ("Defendant"), in a civil action filed

in the Superior Court of Catoosa County, State of Georgia, Civil Action File No.

2009-SU-CV- 2575.

                                       2.

      On December 3,2009, Defendant was served with Plaintiffs' Complaint.
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                                             3.

      Plaintiffs are residents of Catoosa County, Georgia.

                                             4.

       For purposes of detennining diversity jurisdiction, at the time of

commencement of this action, Defendant was not a Georgia citizen nor did it have

its principal place of business in Georgia. As correctly alleged in Paragraph 2 of

the Plaintiffs Complaint, Defendant is a New Jersey corporation with its principal

place of business in New Jersey.

                                             5.

      This action anses from the alleged consumption of defective soup on

December 2, 2007. The Plaintiffs bring suit for personal injury under the theories

of strict liability, negligence, and breach of warranty.

                                             6.

      Defendant has filed and served this removal within the thirty (30) day period

required by 28 U.S.C. § 1446.

                                             7.

      Plaintiffs have made a settlement demand for $195,000.00. See Settlement

Letter from Plaintiffs' Attorney Michael A. Anderson, dated April 24, 2009,

attached as Exhibit "C."




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                                            8.

      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1332

and 1441, in that:

      (a)    the alleged cause of action brought against Defendant is between

citizens of different states, and the amount in controversy is deemed to exceed

$75,000.00, exclusive of interests and costs;

      (b)    the entire case is appropriate for removal to this Court wherein this

Court may determine all issues or, in its discretion, may sever the alleged claim(s)

and remand all matters not otherwise within its original jurisdiction.

                                            9.

      Defendant has complied with all conditions precedent to removal.

                                         10.

      Attached hereto as Exhibit "A" are copies of all pleadings filed in the

Superior Court action. Attached hereto as Exhibit "B" is Defendant's Notice of

Filing Notice of Removal, filed contemporaneously with the Superior Court.



      WHEREFORE, Defendant prays that this case proceed in this Court as a

removed claim or cause of action under 28 U.S.C. §§ 1332 and 1441, and that no

further proceedings be had against Defendant relative to this action in the Superior

Court of Catoosa County, Georgia.



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                         Attorneys for Campbell Soup Company




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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                           ROME DIVISION

GERRY BINGE and RANDALL BENGE,              )
                                            )
                                 Plaintiffs, ) CIVIL ACTION
                                             ) FILE NO.
v.                                           )
                                            )
CAMPBELL SOUP COMPANY,                      )
                                            )
                                Defendant. )
                                            )

                         CERTIFICATE OF SERVICE

         I hereby certify that I have this day served the within and foregoing

NOTICE OF REMOVAL by depositing a copy of same in the United States Mail

in a properly addressed envelope with sufficient postage affixed thereto to ensure

delivery to the following:

                       Michael A. Anderson
                       GA Bar 017740
                       Maddox & Anderson PLLC
                       One central Plaza, Suite 600
                       835 Georgia Avenue
   01A. ~              Chattanooga TN 37402
ThisV' 'day of December, 2009.
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                               Taylor ap     Daly
                                   rgia Bar   . 697887
                               Attorneys for Campbell Soup Company




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